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U.S. District Judge James L. Robart

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

TACOMA DIVISION
ROBERT PETTY, 3:17-cv-05129-JLR
Plaintiff,
vs.
COMMISSIONER OF SOCIAL SECURITY, ORDER FOR ATTORNEY FEES
Defendant.

 

 

 

The court finds and orders an attorney fee of $14,048.83 pursuant to 42 U.S.C. § 406(b)
Such funds shall be paid to Schneider, Kerr & Robichaux, PO Box 14490, Portland, OR 97293,
The attorney fee of $3,174.39 allowed pursuant to the Equal Access to Justice Act will be refunded

to Plaintiff upon counsel’s receipt of the allowed 406(b) fee awarded,

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Dated this 26 dayof_ Ockhber _ 2020.

C) es

UNITED STATES DISTRICT JUDGE

 

 

 
 

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Recommended for Entry
This _ day of , 2020.

 

 

 

 

United States Magistrate Judge

Presented by:

s/ Kevin Kerr

KEVIN KERR, WSB #47715
Schneider Kerr Law Offices
PO Box 14490

Portland, OR 97293

(503) 255-9092
kevinkerr@schneiderlaw.com

 

 
